  Case 1:15-cv-00810-RGA Document 1 Filed 09/14/15 Page 1 of 5 PageID #: 1



La Mar T. Gunn, propria persona
2 Old North Road, #502
Dover, DE 19934
Telephone: (302) 218-6407
Facsimile: (888)812-4098
Email: lamargunn@me.com



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 LAMAR GUNN,
                                                                15 - 8 1 0
        Plaintiff,                              Civ. Action No.- - - - -
                -v -

  SPECIALIZED LOAN SERVICING LLC                    COMPLAINT
                                                    Prose
  and JOHN CHARLES BEGGINS ,
                                                    Jury Trial Demanded
        Defendants.


             COMPLAINT AND DEMAND FOR JURY TRIAL


                                  I. INTRODUCTION

1.   This is an action for actual and statutory damages brought by Plaintiff,

LA MAR GUNN (hereinafter "GUNN"), appearing propria persona, and without

waving any right, for violations of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et seq. (hereinafter "FDCPA"), which prohibits debt collectors from

engaging in abusive, deceptive, and unfair practices.
     Case 1:15-cv-00810-RGA Document 1 Filed 09/14/15 Page 2 of 5 PageID #: 2



                                  II. JURISDICTION
2.     Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

Venue in this District is proper in that the defendant transacts business here and the

conduct complained of occurred here.


                                      III. PARTIES

3.     Plaintiff, LA MAR GUNN, is a natural person residing in City of Dover,

County of Kent, Delaware.

4.     Defendant, SPECIALIZED LOAN SERVICING LLC (hereinafter "SLS") is a

Colorado company engaged in the business of collecting debt in this state with its

principal place of business located at 8742 Lucent Boulevard, Suite 300, Highlands

Ranch, Colorado, 80129. The principal purpose of Defendant is the collection of

debts in this state and defendant regularly attempts to collect debts alleged in

another.

5.      Defendant, JOHN CHARLES BEGGINS, also known as JOHN BEGGINS

(hereinafter "Beggins"), with his principal residence located at 50 Meade Lane,

Englewood, Colorado, 80113, is a natural person employed by SLS as a collector

at all times relevant to this complaint.

6.      Defendants are engaged in the collection of debts from consumers using the

mail and telephone. Defendants regularly attempt to collect consumer debts alleged
     Case 1:15-cv-00810-RGA Document 1 Filed 09/14/15 Page 3 of 5 PageID #: 3



to be due to another. Defendants are "debt collectors" as defined by the FDCPA, 15

U.S.C. § 1692a(6).

                            IV. FACTUAL ALLEGATIONS

7.    By correspondence on the letterhead of SLS and by telephone, defendants

claimed to be the servicer of an alleged mortgage debt belonging to plaintiff.

8.    Plaintiff did not have any relationship with the defendants and was involved in

a mortgage relationship with Ocwen Loan Servicing LLC ("Ocwen"), where

monthly mortgage payments have never been late.

9.   Plaintiff's was set-up with an automatic draft of monthly payments.

10. Defendants, without any notice began reporting negative information to the 3

primary credit reporting agencies (TransUnion, Experian, and Equifax) slandering

plaintiffs stellar credit rating despite his perfect payment history.

11. As a result of the acts alleged above, Plaintiff suffered termination of long-

standing credit lines, denial of new credit lines, loss of business, and damage to his

triple A credit rating.


                              V. CLAIM FOR RELIEF

12. Plaintiff repeats and realleges and incorporates by reference to the foregoing

paragraphs.


13. Defendants violated the FDCPA. Defendants' violations include, but are not

limited to the following:
  Case 1:15-cv-00810-RGA Document 1 Filed 09/14/15 Page 4 of 5 PageID #: 4



            a) Misrepresentations about Owing a Debt

            b) False or Misleading Representations

            c) Unlawful Failure to Cease Communications

            d) Annoying, Abusive, or Harassing Telephone Calls

14. As a result of the foregoing violations of the FDCPA, defendants are liable to

Gunn for declaratory judgment that defendants' conduct violated the FDCPA,

actual damages, statutory damages, costs, and any attorney fees.


      WHEREFORE, plaintiff Gunn respectfully requests that judgment be

entered against defendants SLS and Beggins for the following:

            A. Declaratory judgment that the defendants' conduct violated the

               FDCPA;

            B. Actual damages;

            C. Statutory damages pursuant to 15 U.S.C. § l 692k;

            D. Costs and reasonable attorneys fees pursuant to 15 U.S.C. § 1692k;

               and

            E. For such other and further relief as the Court may deem just and

               proper.

            RESPECTFULLY SUBMITTED this 14th day of September, 2015.




                                     ~c:c?
                                     AMAR:GuNN,          propria persona
                                      Signed reserving all my rights at UCC 1-308
 Case 1:15-cv-00810-RGA Document 1 Filed 09/14/15 Page 5 of 5 PageID #: 5



                        CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 14th day of September, 2015, the foregoing
Document was sent by regular U.S. Mail to:


Specialized Loan Servicing LLC
8742 Lucent Boulevard
Suite 300
Highlands Ranch, Colorado, 80129

John Beggins
50 Meade Lane
Englewood, Colorado, 80113


On this Monday the 14th day of September, 2015.



~ci       -
  propria persona
LA MAR: GUNN,
Signed reserving all my rights at UCC 1-308

2 Old North Road, #502 Dover, DE 19934
Telephone: (302) 218-6407
Facsimile: (888)812-4098
Email: lamargunn@me.com
